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            SETTLEMENT AGREEEMENT AND RELEASE OF CLAIMS

       This Settlement Agreement (the “Agreement”) is entered into on this 24th day of
June, 2021, by and between Reynaldo Almonte and Benigno Pacheco
(together “Plaintiffs”), on the one hand, and each of Port Drago Corp. d/b/a Drago Shoe
Repair and Charles Drago (together “Defendants”), on the other hand (all collectively
hereinafter referred to as the “Parties”).

                                          RECITALS

       WHEREAS, on January 20, 2021, Plaintiffs filed an action in Case No. 1:21-cv-
418 (S.D.N.Y.) asserting claims against Defendants under the Fair Labor Standards Act
(“FLSA”), 29 U.S.C. § 201 et seq. and under New York Labor Law (the “Litigation”); and

       WHEREAS, the Parties engaged in Court-ordered mediation regarding the
possibility of a voluntary resolution of the claims asserted in the Litigation, which
mediation included the extensive exchange of documents between the Parties; and

        WHEREAS, in connection with the mediation, the Parties reached a settlement
of this matter on the terms set forth herein; and

       WHEREAS, the purpose of this Agreement is to settle fully and finally all claims
asserted in the Litigation after arms-length bargaining; and

       WHEREAS, in executing this Agreement, defendants do not admit any liability 0r
wrongdoing, and the consideration exchanged herein does not constitute an admission of
any liability, error, contract violation, or violation of any federal state, or local law, rule or
regulation; and

       NOW, THEREFORE, in consideration of the mutual covenants and promises set
forth in this Agreement, as well as the good and valuable consideration provided for
herein, the Parties agree to a full and complete settlement of the Litigation on the
following terms and conditions:

1.       ADDITIONAL DEFINITIONS

         The defined terms set forth in this Agreement have the meanings ascribed to them
below.

          1.1    “Agreement” means this Agreement, which the Parties understand and
                 agree set forth all material terms and conditions of the Settlement
                 between them, and which is subject to Court approval.

          1.2    “Court” means the United States District Court for the Southern District
                 of New York.

          1.3    “Complaint” means the Complaint filed in the litigation, including any
                 amendments thereto.

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      1.4         “Settlement Amount” means Forty Thousand Dollars ($40,000),
                  inclusive of costs and attorneys’ fees.

      1.5         “Defendants’ Counsel” means Paykin Krieg & Adams, LLP, 10 Grand
                  Central, 155 East 44th Street, 6th Floor, New York, New York 10017, 347-
                  879-2345, dschrader@pka-law.com.

      1.6         “Plaintiffs’ Counsel” means Campolo, Middleton & McCormick, LLP,
                  4175 Veterans Memorial Hwy, Ste 400, Ronkonkoma, New York, 11779,
                  631-738-9100, YPollack@cmmllp.com.

      1.7         “Effective Date” means the date on which this Agreement becomes
                  effective, which shall mean 21 days following the Court’s Order Granting
                  Settlement Approval of the Agreement.

      1.8         “Order Granting Settlement Approval” shall mean the Order
                  entered by the Court approving the terms and conditions of this
                  Agreement.

      1.9         “Defendant Releasees” means Defendants and their past, present,
                  and future officers, directors, employees, shareholders, managers,
                  members, partners, insurers, successors, predecessors, parents, agents,
                  subsidiaries, affiliates, attorneys and assigns.

2.   SETTLEMENT TERMS

      2.1         Settlement Payments

             i.        The Defendants agree to pay the Settlement Amount (Forty
                       Thousand Dollars ($40,000)) within 10 days of the Effective Date.
                       The payment of the Settlement Amount shall be paid as follows: (a)
                       one check for $13,019.76 payable to Reynaldo Almonte; (b) one
                       check for $13,019.76 payable to Benigno Pacheco; and (c) the balance
                       of $13,333.33 in attorneys’ fees plus costs in the amount of $627.15
                       in expenses payable to plaintiffs’ legal counsel.

            ii.        Defendants shall deliver the Settlement Amount through a trackable
                       delivery service and delivered to Plaintiffs’ Counsel.

        iii.           Payment of the Settlement Amount shall fully resolve and satisfy any
                       and all amounts to be paid to Plaintiffs and their counsel under this
                       Settlement Agreement, including attorneys’ fees and disbursements.

        iv.            In the event that the Defendants fail to timely make payment of the
                       Settlement Amount within 10 days of the Effective Date, Plaintiffs or
                       Plaintiffs’ Counsel shall send Notice of Overdue Payment by email to
                       David A. Schrader at dschrader@pka-law.com; giving notice of a
                       failure of receipt of the Settlement Amount. The email shall be

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               entitled “FLSA Litigation Default Notice – Urgent Attention
               Required.” Such Notice will be deemed received on the day the email
               is sent if received prior to 5 PM Eastern Time or the next day if
               received later than 5 PM Eastern. The Defendants will then have 5
               business days to correct any payment failure by paying the
               Settlement Amount (the “Correction Period”). In the event that the
               failure to pay the Settlement Amount is not resolved within the
               Correction Period, Plaintiffs may declare a default under this
               Agreement (“Default”),and shall advise David Schrader that
               Plaintiffs declare a Default. Alternatively, Plaintiffs may deem this
               Agreement null and void and restore the Litigation with the Court.

   v.          Upon any Default, Plaintiffs may request the Court to enter judgment
               in any unpaid amount against the Defendants. Plaintiffs will
               additionally be entitled to be paid reasonable attorneys’ fees in
               connection with the entry and collection of such judgment.
               Notwithstanding, this provision will not apply if either Plaintiff
               declares the Agreement null and void and restores the Litigation.

   vi.         Tax Liabilities. Plaintiffs expressly agree that the sums paid herein
               may constitute taxable income and that they are solely responsible
               for payment of any income tax liabilities associated with the payment
               of their portion of the Settlement Amount. In the event that any
               taxing authority shall seek to hold Defendants liable for any unpaid
               tax due by any Plaintiffs, such Plaintiffs shall indemnity and hold
               harmless the Defendants from such claim or liability.

2.2        Settlement Amounts Payable as Attorneys’ Fees and Costs.

      i.       The parties agree that Plaintiffs’ Counsel will seek approval of, and
               Defendants will not oppose, a request to the Court that one-third of
               the Settlement Amount be apportioned as an award of attorneys’
               fees. In addition, Plaintiffs’ Counsel shall seek, and Defendants will
               not oppose, reimbursement of reasonable actual case-related costs
               and expenses from the Settlement Amount. The portion of the
               Settlement Amount awarded by the Court as attorneys’ fees and costs
               to Plaintiffs’ Counsel shall constitute full satisfaction of any claim for
               attorneys’ fees or costs for any claims released herein.

   ii.         The substance of Plaintiffs’ Counsel’s request for attorneys’ fees and
               costs is not part of this Agreement and is to be considered separately
               from the Court’s consideration of the fairness, reasonableness,
               adequacy, and good faith of the Settlement Amount and this
               Agreement. The outcome of any proceeding related to Plaintiffs’
               Counsel’s request for attorneys’ fees and costs shall not terminate
               this Agreement or otherwise affect the Court’s ruling on approval of
               this Settlement Agreement. In the event that the Court (or any
               appellate court) awards less than the requested amounts, only the
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                 awarded amounts shall be paid and shall constitute full satisfaction
                 of the obligations of this Section and full payment hereunder. Any
                 money requested for attorneys’ fees or costs that is not approved by
                 the Court shall be redistributed to the Plaintiffs.

3.   RELEASE OF CLAIMS

      3.1   Release by Plaintiffs: Plaintiffs, their attorneys, agents, successors,
            affiliates, heirs, and assigns, fully, finally and forever release, discharge
            and hold harmless the Defendant Releasees, including their attorneys,
            agents, and anyone acting or authorized to act on their behalf, from any
            and all claims, demands, and causes of action for all matters that arise
            from or are related to the claims and defenses alleged in the Complaint or
            in the Litigation. Notwithstanding anything in this paragraph, this
            Release excludes any claim requiring Defendants to perform the
            obligations under this Agreement and any remedies provided to Plaintiffs
            hereunder. For purposes of clarity, the Release includes, but is not limited
            to federal and state wage claims alleged in the Complaint including
            overtime pay, minimum wage claims, statutory and common law
            violations under the FLSA and New York State Labor Law, as well as any
            alleged retaliation claim. Plaintiffs further represent that they are
            unaware of any other claims that Plaintiffs may have against the
            Defendant Releases other than those claims asserted in the Litigation.

      3.2   Release by Defendants: Defendants, their attorneys, agents, successors,
            affiliates, heirs, and assigns, fully, finally and forever release, discharge
            and hold harmless Plaintiffs their attorneys, agents, and anyone acting or
            authorized to act on their behalf from any and all claims, demands, and
            causes of action for all matters that arise from or are related to the claims
            and defenses alleged in the Complaint and in the Litigation.

4.   NON-INTERFERENCE

      4.1   Nothing in this Agreement shall interfere with Plaintiffs’ right to file a
            charge, cooperate, or participate in an investigation or administrative
            proceeding conducted by the EEOC or state fair employment practices
            agency, or other federal or state regulatory law enforcement agency.
            However, the full consideration provided to Plaintiffs by this Agreement
            will be the sole relief provided to Plaintiffs for their released claims, and
            Plaintiffs will not be entitled to recover, and agrees to waive, any monetary
            benefits or recovery against the Defendants in connection with any such
            claim, charge, or proceeding without regard to who has brought the
            complaint or charge.

5.   PARTIES’ AUTHORITY

      5.1   The signatories hereto hereby represent that they are fully authorized to
            enter into this Agreement and to bind the Parties hereto to the terms and

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            conditions hereof. The Parties further acknowledge that they have had the
            assistance of legal counsel in connection with their entry into this
            Agreement and have had a full opportunity to have legal counsel explain
            the terms and conditions of this Agreement.

      5.2   Plaintiffs’ Counsel represents and warrants that they have explained this
            Agreement to the Plaintiffs in their native language (in addition to
            English) (and translated same) to ensure that Plaintiffs fully understand
            the terms and conditions herein and are entering into this Agreement with
            full knowledge of the terms hereof.

6.   MUTUAL COOPERATION

      6.1   The Parties agree to reasonably cooperate with each other and to take all
            steps necessary and appropriate to obtain the Court’s approval of this
            Agreement and all of its terms and to effectuate the terms of this
            Agreement, including but not limited to, execution of such documents and
            to take such other action as may reasonably be necessary to implement the
            terms of this Agreement. Plaintiffs’ Counsel shall, with the assistance and
            cooperation of Defendants and their counsel, take all necessary steps to
            secure the Court’s approval of this Agreement.

7.   NOTICES

      7.1   Unless otherwise specifically provided herein, all notices, demands or
            other communications given hereunder shall be in writing and shall be
            overnight mailed to legal counsel for the respective party to the address as
            set forth in the Definition Section above. Notice shall be deemed to have
            been duly given as of the first business day after delivery of the Notice.


8.   INTERPRETATION AND ENFORCEMENT/MISCELLANEOUS TERMS

      8.1   Knowing and Voluntary Agreement. The Parties have read carefully this
            Agreement and have executed it voluntarily and with full knowledge and
            understanding of its significance, meaning, and binding effect. The
            Parties are competent to understand the content and effect of this
            Agreement, and the decision to enter into this Agreement has not been
            influenced in any way by fraud, duress, coercion, mistake, or misleading
            information.

      8.2   No Assignment. Plaintiffs represent and warrant that they have not and
            will not assign or transfer, or purport to assign or transfer, to any person
            or entity, any claim or any portion thereof or interest therein, including,
            but not limited to, any interest in the Litigation, or any related action, and
            any attempt to do so shall be of no force or effect.



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8.3   Entire Agreement. Subject to the Court’s approval of this Agreement, this
      Agreement constitutes the entire agreement between the Parties with
      regard to the subject matter contained herein, and all prior and
      contemporaneous negotiations and understandings between the Parties
      shall be deemed merged into this Agreement.

8.4   Binding Effect. This Agreement shall be binding upon the Parties and,
      with respect to Defendants, their affiliates, parents, subsidiaries,
      predecessors, successors, employees, agents and assigns; and
      additionally, with respect to Plaintiffs, their spouses, children,
      representatives, heirs, administrators, executors, beneficiaries,
      conservators, attorneys and assigns.

8.5   Arms’ Length Transaction; Materiality of Terms. The Parties have
      negotiated all the terms and conditions of this Agreement at arms’ length.
      All terms and conditions of this Agreement in the exact form set forth in
      this Agreement are material to this Agreement and have been relied upon
      by the Parties in entering into this Agreement, unless otherwise expressly
      stated.

8.6   Construction. The determination of the terms and conditions of this
      Agreement has been by mutual agreement of the Parties through legal
      counsel. Each Parties’ counsel participated jointly in the drafting of this
      Agreement, and therefore the terms and conditions of this Agreement are
      not intended to be, and shall not be, construed against any party by virtue
      of draftsmanship.

8.7   Governing Law. This Agreement shall in all respects be interpreted,
      enforced and governed by and under the laws of the State of New York,
      without regard to choice of law principles.

8.8   Continuing Jurisdiction. This Court shall retain jurisdiction over the
      interpretation and implementation of this Agreement, as well as any and
      all matters arising out of, or related to, the interpretation or
      implementation of this Agreement.

8.9   Waiver or Modification to be in Writing. No waiver, modification or
      amendment of the terms of this Agreement, whether purportedly made
      before or after the Court’s approval of this Agreement, shall be valid or
      binding unless in writing, signed by or on behalf of all Parties, and then
      only to the extent set forth in such written waiver, modification or
      amendment, with any required Court approval. Any failure by any party
      to insist upon the strict performance by the other party of any of the
      provisions of this Agreement shall not be deemed a waiver of future
      performance of the same provisions or of any of the other provisions of
      this Agreement, and such party, notwithstanding such failure, shall have
      the right thereafter to insist upon the specific performance of any and all
      of the provisions of this Agreement.

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